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UNrrED STATES DISTRICT COURT
IN AND FoR THE DISTRICT OF NEVADA
SALVATORE MALLIA, JR., an individual, )Case No:

Plaintiff,
CoMPLAINT
VS. AND JURY DEMAND
DRYBAR HOLDINGS, LLC, a foreign
limited liability company; COURTNEY
BARFIELD, an individual; KARRIE
MARTINEZ, an individual; PATRICE
CAMPBELL, an individual; ZENA LONG,
an individual; RENEE ATWOOD, an
individual ; and DOES 1 through 100,
inclusive,

EEOC No: 487-2018-00648

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Defendants.
COMES NOW, Plaintiff, Salvatore Mallia, Jr., an individual, (hereinafter

“Plaintift” or “Mr. Mallia”), by and through his counsel of record, Keen L. Ellsworth,
Esq., of the law firm of Ellsworth & Bennion, Chtd.,and hereby requests a jury trial
relative to all issues triable as folloWs:
INTRODUCTION
1. Plaintiff brings this action against Defendants for violations of the

Americans With Disabilites Act of 1990 (“ADA”) as amended by the ADA Amendments

 

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Act of 2008, 42 U.S.C. §12101 et Seq. (the “ADA”); Title VII of the Civil Rights Act of
1964, as amended, 42 U.S.C. §§2000€ et seq. (“Title VII”); and Nevada state law.

2. The United States Equal Employment Opportunity Commission (“EEOC”)
alleges Defendant entities, (“Defendant Employer” or “Drybar”) did subject Plaintiff to
harassment of a sexual nature, harassment in general and discrimination due to Mr.
Mallia’s sex. Additionally, the EEOC found violations of Title VII of the Civil Rights Act
of 1964, as amended and finally violations of the Age Discrimination in Employment Act
of 1967, as amended.

l JURISDICTION AND VENUE

3. This is a civil action seeking damages against Defendants, DRYBAR
HOLDINGS, LLC, a foreign limited liability company. This Court has jurisdiction over
this action pursuant to 28 U.S.C. §1331, in that this is a civil action arising under the
ADA and Title VlI. This court also has supplemental jurisdiction over Plaintiff’s related
claims arising under state laws, pursuant to 28 U.S.C. §1367(a).

4. Venue is proper in this district court under 28 U.S.C. §1391(b)(2), in that a
substantial part of the events giving rise to this claim occurred.

CONDITIONS PRECEDENT

5. Plaintiff timely filed a charge of discrimination With the EEOC.

6. 0n or about November 1,' 2018, the EEOC issued Plaintiff a Notice of Right
to Sue. (See Exhibit “1”.) This Complaint has been filed timely pursuant to the ADEA
rules of compliance Plaintiff has fully complied With all prerequisites to jurisdiction in
this Court under the ADA and Title VII.

PARTIES `
7. Plaintiff (hereinafter “Mr. Mallia”) is a male Who is over the age of forty-

five (45) and resides in Las Vegas, County of Clark, State of Nevada and is a citizen of

 

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» foreign limited company formed under the laws of California but does business in Las

 

 

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Nevada, and is a “person” Within the meaning of 42 U.S.C. §2oooe(a) and 29 U.S.C.
§630(a). At all times relevant to this suit, until his termination in October 2017, Mr.
Mallia was employed at Drybar Holdings, LLC in Las Vegas, County of Clark, State of
Nevada.

8. Mr. Mallia is an employee, as defined by the ADA and Title VII.

9. Upon information and belief, Defendant, Drybar Holdings, LLC, is a

Vegas, County of Clark, State of Nevada. (Hereinafter referred to generally as “Drybar”).

10. Upon information and belief, Defendant, Courtney Barfleld, an individual,
is a citizen of the United States and a resident of the State of Nevada. At all times
relevant to this action, she Was employed by Drybar, and supervised Plaintiff and is a
“person” Within the meaning of 42 U.,S.C. §2oooe(a) and 29 U.S.C. §63o(a).
(Hereinafter referred to as “Barf`leld”).

11. Upon information and belief, Defendant, Karrie Martinez, an individual, is
a citizen of the United States and a resident of the State of Nevada. At all times relevant
to this action, she Was employed Drybar, and supervised Plaintiff and is a “person”y
Within the meaning of 42 U.S.C. §2oooe(a) and 29 U.S.C. §630(a). (Hereinafter
referred to as “Martinez”).

12. Upon information and belief, Defendant, Patrice Campbell, an individual,
is a citizen of the United States and a resident of the State of Nevada. At all times
relevant to this action, she Was employed by Drybar, and supervised Plaintiff and is a
“person” Within the meaning of 42 U.S.C. §2oooe(a) and 29 U.S.C. §63o(a).
(Hereinafter referred to as “Campbell”).

13. Upon information and belief, Defendant, Zena Long, an individual, is a

citizen of the United States and a resident of the State of Nevada. At all times relevant

 

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to this action, she Was employed by Drybar, and supervised Plaintiff and is a “person”
within the meaning of 42 U.S.C. §2oooe(a) and 29 U.S.C. §63o(a). (Hereinafter
referred to as “Long”).

14. Upon information and belief, Defendant, Renee Atwood, an individual, is a
citizen of the United States With her state of residency unknown. At all times relevant to
this action, she was employed by Drybar, and supervised Plaintiff and is a “person”
within the meaning of 42 U.S.C. §2000e(a) and 29 U.S.C. §63o(a). (Hereinafter
referred to as “Atwood”). v

15. Plaintiff does not know the true names and capacities, Whether a business
entity, governmental, or individual, of those Defendants sued herein as Does 1 through
100, inclusive. Plaintiff prays leave that when the true names and capacities of said
Defendants are ascertained, he may be permitted to insert the same herein with
appropriate allegations; however, upon information and belief, Plaintiff alleges each
Defendant is legally response for the events and happenings referred to herein and
proximately caused damages to Plaintiff, as alleged herein.

16. Each Defendant is the agent, servant, employee, representative, principal,
master, supervisor and/or employer of each of the other Defendants; each Defendant
was acting with the service and scope of that agency, employment or other relationship
at all times alleged herein. Relief is sought herein against each and all Defendants, as
well as its or their agents, assistants, successors, employees and all persons acting in
concert or cooperation with them or at their direction.

GENERAL ALLEGATIONS
A. BACKGROUND
17. Mr. Mallia is a male, age over forty-five (45), and a United States Veteran,

having served with both the United States Marine Corp and the United States Army and

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l VA-rated at a one hundred percent (100%) disability rating, resulting from his service in

 

 

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has been honorably discharged for his service With both branches. Mr. Mallia has been

the military. This information was disclosed to Drybar prior to his employment He is a
certified mixologist and food and beverage manager, consultant and director by trade,
having managed several popular bars over the course of his career.

18. Drybar is commonly described as a “California-based chain of salons that
provides a hair styling service known as ‘blowouts.”’ Drybar also offers bar/drink
services. Drybar has at least three (3) locations in Las Vegas, with the “Miracle Mile”
location being its “flagship location” and claims to have almost one hundred (100)
locations in multiple states and countries.

19. Mr. Mallia began working for Drybar (at the “Miracle Mile”
shop/location), on or about August 24, 2017 in the position of “Bar Manager”. He was
formally offered the position in Writing, by Barfield on August 22, 2017. Drybar’s bar
operations were experiencing significant financial loss. They informed Mr. Mallia no
one at Drybar had the knowledge or experience necessary, nor did they have
knowledgeable people in place to manage their bars in Las Vegas. The management
were primarily familiar and experienced only with the salon-side of Drybar and they
wanted an experienced and knowledgeable Bar Manager.

20. Mr. Mallia Was originally interviewed by the General Manager at the time,
Ellie Greene (female) (no longer with the company), and also President of the Company,
Danielle Bruno (female) (also no longer with the company).

21. Greene and Bruno informed Mr. Mallia he would have the ability to l
manage all bar operations and the oversight and control of same. They `Were very

specific with what they Wanted and explained to Mr. Mallia they wanted to utilize his

 

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many years of bar management expertise to increase profits and decrease liquor costs
for the bar, and also to set up promotions to enhance the bar side of the company.

22. In the short time-period Mr. Mallia Was employed With Defendant, he
successfully raised sales, streamlined liquor costs, and saved Drybar thousands of
dollars.

B. PROBLEMS BEGIN

23. Mr. Mallia had a great working relationship With both his General
Manager, Ellie Greene and President, Danielle Bruno. Unfortunately, Bruno left for
unknown reasons shortly after his employment began. Defendant Barfield then took
over Bruno’s position in or about mid-August 2017.

24. Thereafter, Greene Was forced to quit by various middle management
personnel (including Defendant Martinez), after salon-side employees engaged in a
“UFC-style fight”, Which took place at the front desk of the Miracle Mile shop in front of
customers during business hours. There is video footage of the incident.

25. Defendants Barfield and Martinez Were upset With Greene for not getting
in the middle of the fight to break it up (while pregnant and at-risk). Green explained
she Was pregnant and it Was thereafter that Barfield began making Greene miserable to
the point she told Greene she-should either resign or she Would be fired.

26. After Greene left, the two (2) salon managers (Hunter and Eddy) took over
running the salon in the temporary absence of a General Manager, taking their
directions from the District Manager, Defendant Long. This is important because
Hunter and Eddie also assisted Mr. Mallia on the bar-side in covering the first thirty
(30) minutes to an hour after the shop first opened each business day until Mr. Mallia

arrived for his established shift hours.

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C. MIs-MANAGEMENT BY MIDDLE MANAGEMENT

27. Approximately one (1) Week after the departure of Greene, Defendant
Long (a District Manager for nine (9) different Drybar locations) and another General
Manager,_ Defendant Williams (who was managing another Drybar location in
Washington State), showed up to the Miracle Mile location on Thursday, September 28,
2017. Their arrival has been described by multiple employees to be “Spartan-style”, with
the two (2) storming into the store and immediately taking over, yelling at people,
barking orders, and instructing salon-side managers, Hunter and Eddy, to take the next
two (2) days off.

28. At this time, Mr. Mallia was on his thirteenth (13“1) straight day of work
With no break. Both Long and Williams knew (or should have known as managers) that
Hunter and Eddy covered the bar for Mr. Mallia as set forth above. That same night,
after the shop closed, Long and Williams went through the store With a “fine-toothed”
comb. Mr. Mallia stayed on to assist them and ultimately ended up working nearly
thirteen (13) straight hours that shift, staying until Long and Williams finally closed the
store for the evening. Long and Williams left that night with Long instructing Mr.
Mallia to come in the next day (Friday) at 11:3oam.

29. The next morning (Friday, September 29, 2017), at 10:45am, while Mr.
Mallia Was getting ready for work, Long telephoned Mr. Mallia. Long immediately
began yelling and screaming at Mr. Mallia over the phone, berating Mr. Mallia, yelling
that he had “dropped the ball” and didn’t do his job and that he should have the bar
covered. Mr. Mallia tried to explain to Long that Hunter and Eddy covered the bar each
day until his arrival.

30. lnstead of listening, Long continued to overtly yell and scream at Mr.

Mallia, despite him asking her to stop and be professional Long continued screaming

 

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and raised her voice even louder. Mr. Mallia finally stated he needed to get ready for
Work and hung up the phone.

31. Mr. Mallia Was shaken and immediately called Defendant, Renee Atwood
(female), Drybar’s Human Resources Director and explained to her exactly what had
just occurred. Atwood stated she Would look into it and promised to keep everything
confidential between Mr. Mallia and herself.

D. THE WRITE-UP & BLATANT SEXUAL HARASSMENT

 

32. Later that morning, and approximately one (1) hour after Mr. Mallia’s shift
began, Long and Williams pulled Mr. Mallia into a tiny, closet-sized back room office
(With security camera coverage) to inform him they were issuing him a disciplinary
“Write-up”, and Williams began to do so while Long proceeded to berate him again.
They also told Mr. Mallia they had “already spoken with Renee Atwood, who had told
them everything he had told her on the phone”, just an hour before.

33. Mr. Mallia was extremely uncomfortable in the tight office space and he
sat in the corner With his arms at his sides and listened to both Long and Williams
berate him for allegedly “being late” and not having the bar covered and for a prior
incident they tried to allege occurred. Mr. Mallia did not agree with the “write-up” and
therefore refused to sign it, attempting again to explain to Long and Williams Why he
Would not sign the “Write-up”. Long began screaming at him yet again. lt was at this
time that Williams (knowing they were on video camera in the tiny space), began
pinching Long to get her to be quiet. After Mr. Mallia expressed his disagreement with
the “write-up” and his refusal to sign the document, Williams SIGNED Mr. Mallia’s

NAME on the document

 

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34. The “write-up” authored (and signed) by Williams, also mentions that
earlier in the Week, Mr. Mallia had left the “bar unattended”, Which Mr. Mallia disputes.
Williams and Long refused to provide the circumstances behind that alleged instance.

35. Drybar has established wM policies and procedures for disciplinary

actions, which require progressive discipline First, is a verbal warning; Second, there is

 

a “first” written write-up; M, a “second” Written write-up and; high there is a
“final” Written Write-up which ultimately leads to termination. This particular “write-
up” (Mr. Mallia’s one and only), Was marked as Mr., Mallia’s “final” write-up. Mr. Mallia
had no prior disciplinary action against himn This was a violation of Drybar’s own
company policies and procedures regarding discipline

36. Finally, and most disturbing of all, on the “Write-up”, Campbell Wrote:

“Nothing is sexier than honesty & humility because Sal did
not accept responsibility and Was not open to feedback.”

This Written comment about being “sexier” Was very disturbing, unsettling and
embarrassing to Mr. Mallia, Who Was already being mistreated and demeaned by smy
f_emB management, who were in positions of power over Mr. Mallia.

37. Toward the end of the meeting with Long and Campbell, Long handed Mr.
Mallia the “write-up” and then blatantly and in a bragging manner, informed Mr. Mallia
that Renee Atwood at Human Resources had, instead of keeping everything
“confidential” as she had promised, divulged to Long everything Mr. Mallia had told
Atwood just that morning, less than two (2) hours before.

E. REFUSAL To ACKNoWLEDGE VETERAN DISABIerY STATUS

 

38. As noted above, Mr. Mallia is a U.S. Veteran (two branches With two
honorable discharges) and he is rated one hundred percent (100%) disabled Since his
hiring and despite Mr. Mallia’s many requests, Drybar refused to enter into the proper

contracts and channels to have liquor delivered to Drybar, as is the proper way to do so

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in the industry. Mr. Mallia hurt his back while lifting liquor cases out of his car, Which
he had to go and pick up for Drybar directly from the supplying liquor company because
Drybar continually failed and refused to establish the proper accounts~vvith any liquor
companies This made Drybar a “cash on delivery” only operation. So, When the check
for liquor from Drybar’s headquarters did not arrive to the liquor company, the bar Was
running out of liquor. To solve the problem Drybar created, they told Mr. Mallia to “go
pick it up”, referring to the liquor.

39. Unfortunately, during the liquor pick-up Mr. Mallia injured his back so
badly he had to take pain mediation just`to come to Work the next day. The injury
occurred near the end of his shift, and he left at 6:30 pm to go to the doctor because he
was in so much pain. Only thirty (30) minutes early.

40. Mr. Mallia even immediately provided his doctor’s notes to Human
Resources at Drybar. Yet still, Mr. Mallia was still issued the improper and unsupported
“write-up”.

F. HUMAN REsoURCES FAILS To PRoPERLY MANAGE

41. It is a commonly known fact at Drybar that Atwood, a Human Resources
Director, is very close, long-term friends with the other female Defendants herein. In
fact, most middle management employees are. And they are all women. /

42. These women are all hired for their positions based on friendship With
upper management, the owner(s), and each other; not based upon their experience,
knowledge or ability to properly manage

43. It is also common knowledge amongst employees that instead of keeping
employees’ information and complaints confidential, which Atwood receives from any

Drybar employees (as is the purported corporate policy), that all such information and

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complaints are consistently and quickly reported back to the middle management
employees, whom are usually the ones being complained about.

44. / There are hundreds of complaints from numerous employees directed at
middle management employees of Drybar, which are publicly available online. A lot of
those complaints are aimed at even the Defendants herein. And they are all consistently
the same complaints as those herein (sometimes Worse) - all directed at middle-
management, all women, all whom lack the knowledge or ability to properly manage
employees

G. FURTHER MISMANAGEMENT AND RETALIATION PosT “WRITE-UP”

 

45. After the “write-up” incident, and his complaints lodged with Human
Resources, Mr. Mallia experienced increased hostility and abuse from Defendants. As
the days progressed, Mr. Mallia was not given the ability to do his job. Every move Mr.
Mallia made on behalf of the bar (which he had been told on hiring he would have full
autonomy over), was either put on hold or micro-managed to the point Mr. Mallia had
no ability to perform the job he was hired to do and had been told he was expected to do.
Mr. Mallia felt he had a target painted on his back and he Was being set up to fail and for
termination l

46. This also created problems throughout the store in a general sense. Yet,
Mr. Mallia Was consistently told (as Were other employees) that it was his “job” to do
other “jobs” as middle management “saw fit”. At one point he was doing the job of three
(3) people in acting as the bartender, the manager, Ll the server because Defendants
were refusing to allow Mr. Mallia to do the job he was hired to do as a Manager.
Instead, he Was doing the jobs of at least three (3) people he Was originally promised he

would be allowed to hire.

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47. At one point Mr. Mallia made the suggestion of hiring male model cocktail
servers to cater to the largely female based customers at the salon, but he Was told that
would be “discrimination”. Since Drybar is largely female managed and operated, this
made no sense and it became clear through various comments made that Drybar Was
not interested in the hiring of any men.
H. CLAIMS OF AGGRESSION y

48. It Was soon after the write-up when Long approached Mr. Mallia and told
him he Would be meeting With Defendant Barfield (whom also happens to be Long’s
good friend and neighbor outside of work). A lunch meeting was set up between Long,
Williams, Barfield and Mr. Mallia. Mr. Mallia audio-recorded the entire meeting.

49. From the very beginning and outset of this almost two (2) hour lunch
meeting, you can hear the condescending, aggressive and hostile tone which is taken
toward Mr. Mallia by the three (3) Women, particularly by Barfield, all of whom held
superior positions to Mallia.

50. Each of the women expressed hostility, aggression, and animosity toward
l\/lr_. Mallia. He felt ambushed. At one point during the lunch meeting, Long was even
making faces at Mr. Mallia and tapping Martinez’ shoulder making faces and saying
“see, see, what did I tell you about him?” Her behavior Was so bad at one point that
Barfield told Martinez to leave the table.

51. There were several very interesting and poignant instances during the
meeting of Barfield acting very aggressively toward Mr. Mallia, including harshly
swearing several times, pounding her fists on the table and generally being hostile,
antagonistic and abusive. The recording of this meeting is proof.

52. 'It was also during this meeting wherein clear admissions were made by

Defendants (again, on the recording), that Drybar was violating FLSA laws regarding

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tipped employees. They even admitted the tips received by employees were being
retained by Drybar and/ or being utilized to pay Drybar’s employees’ wages instead, or
simply kept as outright profit.

n 53. After the meeting was over, a written statement obtained from an
employee at Drybar (and her testimony) will prove that Barfield, Martinez and Long all
returned to Drybar after the lunch (Mr./ Mallia was told to go home) and were having
drinks at the salon’s bar, while coordinating their stories for the purposes of generating
their written report to “corporate”. This employee’s statement further proves the three
(3) women were attempting to “get their stories straight” in order to further their
coordinated attack upon Mr. Mallia in order to have him dismissed They would later
try to claim it was Mr. Mallia whom was being “aggressive” at the meeting, when that
was clearly not the case at all, as is proven by the recording

54. lt was within a week or two of this lunch meeting that Mr. Mallia was
ultimately terminated
I. FEDERAL TIP COMPLIANCE VIOLATIONS / FLSA

55. Throughout his employment at Drybar, Mr. Mallia observed Drybar was
illegally and improperly withholding the tips received by bartenders and other
employees from shop customers, and Drybar was utilizing the tips for the purposes of
paying their employees’ wages or was simply keeping the profits for itself.

56. In fact, as stated hereinabove, at the same lunch meeting, when Mr. Mallia
raised the issue of the tip complianceviolations, Barfield didn’t seem to know what was
going on or have any knowledge of laws with regard to employees’ tips, and it was then
that Defendant Martinez quietly admitted to Barfield - in the presence of Mr. Mallia at
the lunch meeting - that this is the way that Drybar handles its tips, Again, this was

audio-recorded

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J. DAMAGES TO PLAINTIFF CAUSED BY DRYBAR

57. Since Mr. Mallia’s termination, he has struggled financially, has been
delinquent on his home mortgage payments, and due to comments made by Drybar to
potential future employers, has been struggling to obtain employment in Las Vegas.

58. Middle-management even went so far as to inform remaining employees
they were not allowed to even mention Mr. Mallia’s name, unless they wanted to be
fired Defendants also spread false rumors and gossip amongst employees claiming Mr.
Mallia was fired because he was “embezzling” the tips and other income - obviously a
cover-up for their own admitted Federal Tip Compliance law violations Of course, none
of the gossip is even remotely true and has hurt Mr. Mallia’s reputation severely in his
industry.

59. The events involved herein have also caused Mr. Mallia great mental and
emotional pain and anguish and great economic harm and loss. He has had to seek
psychiatric treatment to assist him in resolving these issues.

FIRST CAUSE OF ACTION
(DEFENDANTS’ UNLAWFULLY DISCRIMINATED AGAINST PLAINTIFF DUE TO HIS
DISABIerY)

60. The allegations of the foregoing paragraphs are incorporated herein by
reference.

61. Title I of the ADA prohibits covered entities from discriminating against a
qualified individual on the basis of disability in regard to job application procedures, the
hiring, advancement, or discharge of employees, employee compensation, job training,
and other terms, conditions and privileges of employment 42 U.S.C. §12112(a).

62. Defendants discriminated with malice or reckless indifference against Mr.

Mallia by, among other improper actions, terminating him from his job as Bar Manager

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at Drybar after they “wrote him up” (skipping the progressive discipline process set
forth in their own policies and procedures), for not being able to do a job while he was
injured as a result of his Veteran’s status approved 100% disability, which Drybar
KNEW about.

63. This injury was caused by Drybar when they ultimately refused to allow
Mr. Mallia to have the liquor delivered in the appropriate and proper manner for the
industry, and instead required Mr. Mallia to pick-up heavy cases of liquor for the shop,
which caused him further injury and to miss work.

64. Mr. Mallia has suffered and continues to suffer, damages and other harm
as a direct result of Defendants’ discrimination, including financial and emotional
distress, and humiliation.

65. Mr. Mallia has been required to engage the services of counsel to prosecute
this action and, as such, Mr. Mallia is entitled to an award of reasonable attorney’s fees
and costs.

SEcoND CAUsE OF AcTIoN
(DEFENDANTS FAILED To PRovn)E A RnAsoNABLE ACCoMMoDATIoN)

66. The allegations of the foregoing paragraphs are incorporated herein by
reference

67. The ADA requires employers to provide reasonable accommodations to
employees with disability, unless doing so would pose an undue hardship A reasonable
accommodation is assistance to a position or workplace that will enable an employee to
do the job, despite having a disability.

68. Mr. Mallia specifically advised, consulted and requested Drybar middle-
management to go through the proper channels in having the liquor accounts properly

set up, ordered and subsequently delivered to Drybar for its bar services on numerous

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occasions. It refused to do so and it refused to accommodate Mr. Mallia, thus requiring
him to pick-up the liquor himself for the bar, causing further injury to Mr. Mallia.

l 69. Mr. Mallia’s request was a reasonable accommodation and Drybar
management was aware of Mr. Mallia’s difficulties and disabilities Drybar’s
management failed to engage Mr. Mallia in good faith to provide a reasonable
accommodation

70. Instead, Drybar refused to acknowledge the injury and the subsequent
doctor’s notes obtained by Mr. Mallia and provided to Drybar’s Human Resources
Department and instead, wrote him up for leaving the bar unattended, and in the
process, violated their own policies and procedures for disciplinary action.

71. Mr. Mallia has suffered damages because of Defendants’ violations
outlined herein, which required Mri Mallia to engage the services of counsel to
prosecute this action and, as such, Mr. Mallia is entitled to an award of damages and
reasonable attorney’s fees and costs.

THIRD CAUSE or AcTIoN
(DEFENDANTS’ RETALIATED AGAINST PLAINTIFF IN VIOLATION OF THE AMERICANS
WrTH DrsABiLrTIEs ACT)

72. The allegations of the foregoing paragraphs are incorporated herein by
reference

73. Under the ADA, a company cannot retaliate against an employee who
requests a reasonable accommodation and who then faces an adverse employment
action because of his request and disability. Here, Mr. Mallia requested Drybar abide by
the industry standards in having the bar’s liquor accounts set up and liquor properly
delivered to the shop. They refused to cooperate or allow Mr. Mallia to do the job he

was hired to do, thus requiring Mr. Mallia to perform physical actions which caused

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further injury to him; injuries he received from his military service which Drybar was
aware of.

74. In violation of the law, Drybar management moved forward to terminate
Mr. Mallia’s employment rather than to have to provide the requested reasonable
accommodation The ONLY reason Mr. Mallia missed any work was due to his
disabilities and condition, which was aggravated by the Work environment at the shop.
This situation could have easily been changed by Mr. Mallia’s suggestions or simply by
just allowing Mr. Mallia to do his job. But female middle managers didn’t want to
relinquish any control, and certainly not to a man

75. Later, when Mr. Mallia sought employment at other locations, Drybar
management advised those companies not to hire Mr. Mallia given their alleged
“problems” with him and even worse, defamed him to other Drybar employees with
outrageously false allegations v

76. Mr. Mallia has suffered and continues to suffer, harm as a direct result of
Defendants’ retaliation against him, including financial and emotional distress and
humiliation

77. Defendants intentionally violated Mr. Mallia’s rights under the ADA with
malice or reckless indifference and as a result, are liable for punitive damages

78. Mr. Mallia has been required to engage the services of counsel to prosecute
this action and as such, Mr. Mallia is entitled to an award of reasonable attorney’s fees

and costs

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FOURTH CAUSE OF ACTION
(DISCRIMINATORY DrsCHARGE IN VIoLATIoN oF THE AMERICANS WrrH
DISABIerIEs ACT AND NEVADA REVISED STATUES §613.330)

79. The allegations of the foregoing paragraphs are incorporated herein by
reference

80. Mr. Mallia was qualified for his position when Defendants fired him.

81. Defendants fired Mr. Mallia only after he reported to Drybar’s Human
Resources, problems with management Mr. Mallia was terminated because he took
approximately thirty (30) minutes off of work to seek immediate medical treatment for
an injury caused at work, but only after Mr. Mallia reported the incident Defendants
took this further by creating a hostile work environment and ultimately setting Mr.
Mallia up to fail in trying to do the job he was hired to do for Drybar as the Bar Manager.

82. Plaintiff requested reasonable accommodation for the disabilities he
suffers from as a Veteran, and Drybar refused to cooperate or be reasonable

83. Defendants’ alleged reason(s) for terminating Mr. Mallia’s employment is
pretextual and baseless

84. Mr. Mallia has suffered damages as a result of Defendants’ unlawful
discriminatory actions, including emotional distress, past and `ffuture lost wages and
benefits, and the costs of bringing this action

85. Defendants intentionally violated Mr. Mallia’s rights under the ADA and
Nev. Rev. Stat. §613.330, with malice or reckless indifference and as a result, are liable
for punitive damages

86. Mr. Mallia has been required to engage the services of counsel to prosecute
this action and as such, Mr. Mallia is entitled to an award of reasonable attorney’s fees

and costs

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vast majority of Drybar employees are female Most, if not all, middle-management

 

 

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FIFTH CAUSE OF ACTION
(DISCRIMINATION oN THE BASIS oF SEX IN VIOLATION 0F TlTLE VII AND IN
VIoLATIoN oF NEVADA REVISED STATUTES §613.330)
87. The allegations of the foregoing paragraphs are incorporated herein by
reference
88. The individual Defendants’ physical, sexual and verbal intimidation of Mr.
Mallia constituted harassment

- 89. Mr. Mallia was subjected to this harassment on the basis of his sex. The

employees are female Many other male employees who were employed in the past have
reported similar hostility and harassment Drybar refused to allow Mr. Mallia to hire
any male cocktail servers for the bar based upon Mr. Mallia’s suggestion as the Bar
Manager.

90. Members of the opposite sex are not generally subjected to similar
harassment This harassment thus constituted discrimination on the basis of
sex/gender.- 8

91. This harassment had the effect of creating an intimidating and hostile
work environment

92. This harassment was severe and/or pervasive and interfered with the
terms, conditions, and/ or privileges of Mr. Mallia’s employment

93. On or about September 29, 2017, Mr. Mallia reported this harassment and
hostility to Drybar’s Human Resources Department.

94. On information and belief, other employees have reported similar

harassment conduct by Defendants to Drybar’s Human Resources Department

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95. Defendants were aware of Mr. Mallia’s complaints and Drybar’s Human
Resources Department did nothing about it, and instead chose to report such
confidential complaints back to the very people being complained about and then did
not take adequate action to address the harassment and hostility, nor prevent continued
harassment and hostility.

96. Mr. Mallia has suffered damages as a result of Defendants’ unlawful
discriminatory actions, including emotional distress past and future lost wages and
benefits, and the costs of bringing this action y

97. Defendants intentionally violated Mr. Mallia’s rights under Title VII and
Nev. Rev. Stat. §613.330, with malice or reckless indifference and as a result, are liable
for punitive damages

98. Mr. Mallia has been required to engage the services of counsel to prosecute
this action and as such, Mr. Mallia is entitled to an award of reasonable attorney’s fees
and costs

SIXTH CAUsE or ACTIoN
(RETALlATIoN IN VIoLATIoN oF TrrLE VII AND
NEVADA REVISED STATUTE §613.340)

99. The allegations of the foregoing paragraphs are incorporated herein by
reference

100. Mr. Mallia was qualified for his position when Defendants fired him.

101. Defendants fired Mr. Mallia only after he reported the Defendant for
screaming at him on the telephone and for the wrongful “write-up”, the harassment
(both generally and of a sexual nature), and the hostility to Human Resources, and

brought-up the federal tip compliance violations with middle management

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102. Defendants’ alleged reasons for terminating Mr. Mallia’s employment is
pretextual and baseless

103. Defendants’ termination of Mr. Mallia constitutes unlawful retaliation
against Mr. Mallia in violation of his rights under Title Vll and Nev. Rev. Stat. §613.340.

104. Mr. Mallia has suffered damages as a result of Defendants’ unlawful
discriminatory actions including emotional distress past and future lost wages and
benefits and the costs of bringing this action

105. Defendants intentionally violated Mr. Mallia’s rights under 'l`itle Vll and
Nev. Rev. Stat. §613.340, with malice or reckless indifference and as a result, are liable
for punitive damages

106. Mr. Mallia has been required to engage the services of counsel to prosecute
this action and, as such, Mr. Mallia is entitled to an award of reasonable attorney’s fees
and costs

SEvENTH CAUSE oF ACTIoN
(NEGLIGENT HIRrNc IN VIoLATIoN oF NEVADA LAw)

107. The allegations of the foregoing paragraphs are incorporated herein by
reference l

108. Defendants owed a duty of care to Mr. Mallia.

1 109. Defendants breached that duty by hiring, and continuing to employ, the
individual Defendants herein, even though Drybar knows or should have known of the
individual Defendants’ propensities for harassment and hostility. lt is common
knowledge amongst numerous Drybar employees

110. j Defendants’ breaches of that duty were the legal cause of Mr. Mallia’s

injuries

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111. As a direct and proximate result of Defendants’ actions Mr. Mallia has
suffered damages including emotional distress past and future lost Wages and benefits
and the costs of bringing this action

112. Mr. Mallia has been required to engage the services of counsel to prosecute
this action and as such, Mr. Mallia is entitled to an award of reasonable attorney’s fees
and costs

EIGHTH CAUSE or ACTION
(NEGLIGENT SUPERVIsIoN AND TRAINING IN VIoLATroN oF .NEVADA LAW)

113. The allegations of the foregoing paragraphs are incorporated herein by
reference

114. Defendants owed a duty of care to Mr. Mallia to use reasonable care in the
training and/ or supervision of the individual Defendants herein, to ensure they were fit
for their positions

115. Defendant Drybar, breached that duty by failing to exercise reasonable
care in the training and/ or supervision of the individual Defendants herein

116. Defendants Drybar’s breaches of that duty were the legal and proximate
cause of Mr. Mallia’s injuries

117. As a direct and proximate result of Defendants* actions Mr. Mallia has
suffered damages including emotional distress past and future lost wages and benefits
and the costs of bringing this action

118. Mr. Mallia has been required to engage the services of counsel to prosecute
this action and as such, Mr. Mallia is entitled to an award of reasonable attorney’s fees

and costs

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NINTH CAUSE oF ACTIoN
(NEGLIGENCE PER SE IN VIoLATIoN 011 NEVADA LAW)

119. The allegations of the foregoing paragraphs are incorporated herein by
reference

120. Defendants owed a duty of care to Mr. Mallia as defined by Nev. Rev. Stat.
§613.330.

121. Plaintiff is among the class of persons Nev. Rev. Stat. §613.330 was
designed to protect

122. Defendants breached that duty by violating Nev. Rev. Stat. §613.330,
which constitutes negligence as a matter of law.

123. Defendants’ breaches of that duty were the legal cause of Plaintiff’ s
injuries

124. As a direct and proximate result of Defendants’ actions Mr. Mallia has
suffered damages including emotional distress past and future lost wages and benefits
and the costs of bringing this action

125. Mr. Mallia has been required to engage the services of counsel to prosecute
this action and as such, Mr. Mallia is entitled to an award of reasonable attorney’s fees
and costs

TENTH CAUSE oF AcTIoN
(CIVIL CoNsPIRACY IN VIoLATroN oF NEVADA LAW)

126. The allegations of the foregoing paragraphs are incorporated herein by
reference

127. Defendants formed a malicious combination

128. Defendants’ malicious combination included two (2) or more persons

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129. Through Defendants’ malicious combination there existed an unlawful act
independent from the civil conspiracy - namely, the ADA violations Title Vll violations
Nev. Rev. Stat. §613.330 violations and negligence alleged in this Complaint.

130. As a direct and proximate result of Defendants’ actions Mr, Mallia has
suffered damages including emotional distress past and future lost wages and benefits
and the costs of bringing this action

131. Mr. Mallia has been required to engage the services of counsel to prosecute
this action and as such, Mr. Mallia is entitled to an award of reasonable attorney’s fees
and costs 1

ELEVENTH CAUSE or ACTIoN
(HosTILE WoRK ENVIRoNMENT)

132. 'l`he allegations of the foregoing paragraphs are incorporated herein by
reference

133. Defendants subjected Mr. Mallia to a hostile, intimidating, and offensive
Work environment by subjecting him to hostility, harassment derived from his sex and
gender, initiating a campaign of retaliatory conduct against him, and by denying him the
ability to do the job he was hired for, despite his qualifications

134. Defendants harassment hostile comments and actions intimidating work
environment and adverse actions against Mr. Mallia occurred with frequency.

135. Defendants’ conduct was so severe and pervasive that it significantly
altered the condition of Mr. Mallia’s employment and affected his psychological well-
being.

136. ln addition, the conduct was sufficiently§ severe and pervasive to create an

abusive work environment and unreasonably interfered with Mr. Mallia’s work.

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137. Defendants further intentionally subjected Mr. Mallia to harassment and
discriminatory conducted based on his disabilities

138. As a direct and proximate result of the breach of its duties owed to Mr.
Mallia to prevent such conduct, Defendants, its agents servants or employees
unlawfully and willfully subjected Mr. Mallia to discriminatory treatment and retaliation
in violation of Nevada State Law.

139. As a result of Defendants’ conduct Mr. Mallia has been damaged in an
amount in excess of $10,000.00 and has lost wages in excess of $50,000.00.

140. Mr. Mallia has been required to engage the services of counsel to prosecute
this action and as such, Mr. Mallia is entitled to an award of reasonable attorney’s fees
and costs

TwELFrH CAUSE oF AcTioN
(AGE DISCRIMINAHON IN EMPtoYMENT)

141. The allegations of the foregoing paragraphs are incorporated herein by
reference

142. Mr. Mallia is informed and believes and therefore alleges that Drybar
employs twenty (20) or more employees

143. At the time Mr. Mallia was hired by Drybar as its Bar Manager, Mr. Mallia
was forty-four (44) years old

144. Despite his qualifications for the position, Mr. Mallia was improperly
discharged and replaced by a substantially younger individual with no better credentials
than those possessed by Mr. Mallia.

145. Mr. Mallia’s discharge by Defendants is in violation of public policy of the b

State of Nevada.

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146. As a result of Defendants’ violation of 29 U.S.C. §621 et seq., and Nev. Rev.

Stat. §613.310 et seq., Title Vll of the Civil Rights Act of 1964, and and the Age

Discrimination in Employment Act (ADEA) of 1967, in that Defendant was a member of

a protected age group (forty years of age or older), Mr. Mallia has suffered injury in the

form of lost income during the period of forced unemployment and lost income for

future employment and is therefore entitled to recovery of aforesaid lost income, plus

interest

147. As as result of Defendants’ willful violation of 29 U.S.C. §621 et seq., and

Nev. Rev. Stat. §613.310, et seq., Mr. Mallia is entitled to liquidated damages

148. Mr. Mallia has been required to engage the services of counsel to prosecute

this action, and, as such, Mr. Mallia is entitled to an award of reasonable attorney’s fees
and costs

THIRTEENTH CAUSE oF AcTroN

(HosTILE WoRK ENVIRONMENT)

149. ` The allegations of the foregoing paragraphs are incorporated herein by

reference

150. During his employment with Drybar, Mr. Mallia was subjected to conduct

of a hostile and/ or abusive nature by Defendants and/ or their agents including but not

limited to: written comments of a sexual nature on ;the wrongful and unsubstantiated

“write-up”; being sworn and screamed at by middle management female employees not

being allowed to perform his job duties or allowed to exercise any control to do so; and

more, thereby creating an environment that a reasonable person would find hostile

and/ or abusive

151. The hostile and/ or abusive conduct was unwelcomed and created an

environment that a reasonable person would find hostile and/ or abusive

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` hired as l)rybar’s “Bar Manager” for an indefinite term and could be terminated for

 

 

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152. 'l`he hostile and/or abusive conduct caused Mr. Mallia to be concerned
about his continued employment with Drybar.

153. As a result of Defendants’ violation of 42 U.S.C. §2oooe et seq., and Nev.
Rev. Stat. §613.310 et seq., Mr. Mallia has suffered injury in the form of lost income
during the period of forced unemployment and lost income for future employment and
is therefore entitled to recovery of aforesaid lost income, plus interest

154. Defendants intentionally, maliciously and/ or recklessly discriminated
against Mr. Mallia, thereby entitled him to compensatory and/ or punitive damages

155. Mr. Mallia has been required to engage the services of counsel to prosecute
this action, and as such, Mr. Mallia is entitled to an award of reasonable attorney’s fees
and costs

FoURTEENTH CAUSE oF ACTION
(BAD FArrH on Ton'rrons DISCHARGE)

156. The allegations of the foregoing paragraphs are incorporated herein by
reference v

157. On or about August 24, 2017, Mr. Mallia entered into an employment

contract with Defendants either express or implied pursuant to which Mr. Mallia was

cause only or in accordance with established policies and procedures

158. Defendants breached the employment contract and acted in bad faith by
terminating Mr. Mallia without cause and/ or not in accordance with Drybar’s
established policies and procedures

159. Defendants improperly, and without cause or justification dismissed Mr.
Mallia.

160. Defendants’ conduct was outrageous andl i 10 violation of public policy.

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161. As a result of Defendants’ unlawful actions Mr. Mallia has suffered injury
in the form of lost income during the period of forced unemployment and lost income
for future employment and is therefore entitled to recover of aforesaid lost income, plus
interest

162. Defendants acted intentionally, maliciously and/ or recklessly, thereby
entitling Mr. Mallia to compensatory and/ or punitive damages

163. Mr. Mallia has been required to engage the services of counsel to prosecute
this action and as such, Mr. Mallia is entitled to an award of reasonable attorneys’ fees
and costs

FIFrEENTH CAUSE oF AcTIoN
(INTENTIONAL INFLICTIoN oF EMoTIoNAL DISTRESS)

164. The allegations of the foregoing paragraphs are incorporated herein by
reference

165. Defendants’ conduct was extreme and outrageous

166. Defendants acted with the intention of or reckless disregard for causing
emotional distress

t 167. Mr. Mallia has suffered severe or extreme emotional distress as a
proximate cause of Defendants’ conduct

168. As a result of Defendants’ unlawful actions and the resulting emotional
distress Mr. Mallia has also suffered injury in the form of lost income during the period
of forced unemployment and lost income for future employment and is therefore
entitled to recovery of aforesaid lost income, plus interest

169. Defendants acted intentionally, maliciously and/ or recklessly, thereby

entitling Mr. Mallia to compensatory and/ or punitive damages

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170. Mr. Mallia has been required to engage the services of counsel to prosecute
this action and as such, Mr. Mallia is entitled to an award of reasonable attorney’s fees
and costs

SIXTEENTH CAUsE or AcTIoN
(NEGLIGENT INFchTioN or EMoTIoNAL DISTRESS)

171. The allegations of the foregoing paragraphs are incorporated herein by
reference

172. Defendants had a legal duty to exercise reasonable care in their
employment practices

173. Defendants breached that duty by acting improperly, and without cause or
justification in dismissing Mr. Mallia.

174. Mr. Mallia has subsequently suffered from physical and emotional
manifestations of distress as approximate and actual result of Defendants’ conduct

175. As a result of Defendants’ unlawful actions Mr. Mallia has suffered injury
in the form of lost income during the period of forced unemployment and lost income
for future employment and is therefore entitled to recovery of aforesaid lost income
plus interest

176. Defendants acted intentionally, maliciously and/ or recklessly, thereby
entitling Mr. Mallia to compensatory and/ or punitive damages

177. Mr. Mallia has been required to engage the services of counsel to prosecute
this action and as such, Mr. Mallia is entitled to an award of reasonable attorney’s fees

and costs

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SEVENTEENTH CAUSE or ACTIoN
(VIoLATIoN oF FAIR LABoR. STANDARDS AcT - “FLSA”)

178. The allegations of the foregoing paragraphs are incorporated herein by
reference

179. Under the FLSA, Mr.. Mallia meets the qualifications for an employee to
receive tips paid to him.

180. The FLSA is designed to eliminate “labor conditions detrimental to the
maintenance of minimum standard of living necessary for health, efficiency and general
well-being of workers...” 29 U.S.C. §202(a). To achieve its goals the FLSA sets
minimum wage and overtime requirements for covered employees 29 U.S.C. §§206(a)
and 207(a).

181. Defendants herein blatantly andknowingly, violated the FLSA by:

(a) requiring tipped employees to spend more than 20% of their time at
work engaged in nontipped side work related to the tipped profession;

Cb) requiring tipped employees to perform non-tipped side work unrelated
to the tipped profession; and

(c) failing and refusing to pay By tips to Mr. Mallia by keeping the tips
and instead utilizing the earned tips to pay other employee wages with or
simply keep the profits for itself.

182. Defendants’ practice of failing to pay tipped employees pursuant to 29
U.S.C. §203(m) violates the FLSA’s minimum wage provision See 29 U.S.C. §§203,
206. Mr. Mallia is entitled to tips Defendant misappropriated

183. Due to Defendants’ willful violations of the FLSA, Mr. Mallia is entitled to
recover from Defendants his misappropriated and unpaid tips and any applicable
overtime wages as may be applicable under the rules of FLSA, in addition to liquidated

damages

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184. Mr. Mallia has been required to engage the services of counsel to prosecute
this action and as such, Mr. Mallia is entitled to an award of reasonable attorney’s fees
and costs

EIGHTEENTH CAUSE or AcTIoN
(DIsCRIMINATIoN IN VIoLATIoN or TrrLE I oF THE ADA -
DISCRIMINATION AGAINST A UNITED STATES VETERAN)

185. The allegations of the foregoing paragraphs are incorporated herein by
reference

186. Mr. Mallia is a decorated United States Army and United States Marine
Corps Veteran, who served his country and was honorably discharged from both
branches of service

187. The Department of Veterans Affairs has rated Mr. Mallia at a one hundred
percent (100%) disability rating, meeting all qualifications for such disability under the
ADA.

188. The ADA, 42 U.S.C. §12101, et ' sq., prohibits employers from
discriminating against qualified individuals because of a disability “in regard to job
application procedures the hiring, advancement or discharge of employees, employee
compensation, job training, and other terms conditions and privileges of employment”
42 U.S.C. §12112.

189. 'l`he ADA prohibits employers from denying qualified individuals
employment or discriminating against them for disabilities

190. While Mr. Mallia was employed by Drybar, Defendants were fully aware of
Mr. Mallia’s United States Veteran disability status even prior to Defendants’ offer of
employment to Mr. Mallia.

191. Drybar is a covered employer to which the ADA applies

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las is required under the ADA.

 

 

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192. Defendants terminated Mr. Mallia from employment almost solely as a
result of Mr. Mallia’s disability as a veteran Defendants made no individualized
assessment to determine whether Mr. Mallia could perform the functions they were
requiring of his position, nor did they cooperate when offered a reasonable alternative to

reasonably accommodate Mr. Mallia which would enable him to be employed by Drybar,

193. Defendants’ violated their own policies and procedures when they formally
“wrote-up” Mr. Mallia for leaving the “bar unattended” as a direct result of an injury,
which was caused by Drybar’s direct failure and refusal to offer Mr. Mallia reasonable
accommodation after they required Mr. Mallia to physically go pick-up liquor for
Drybar, which easily could have been, and frankly, should have been delivered instead l

194. Defendants’ termination of Mr. Mallia violated the ADA.

195. Defendants acted intentionally, maliciously and/ or recklessly, thereby
entitling Mr. Mallia to compensatory and/ or punitive damages

196. Mr. Mallia has been required to engage the services of counsel to prosecute
this action and, as such, Mr. Mallia is entitled to an award of reasonable attorney’s fees
and costs

PRAYER FOR RELIEF
WHEREFORE, Plaintiff respectfully prays the Court grant the following relief:
(a) Grant judgment in favor of Plaintiff and declare that Defendants have

violated Title l of the ADA, 42 U.S.C. §§12i111-12117, and its accompanying
regulation;

(b) Award Plaintiff for his past and future ldss of wages and benefits in an
amount to be proven at trial but no less than $500,000.00, plus interest;

(c) Award Plaintiff his reasonable attorneys fees expenses and costs
pursuant to 42 U.S.C. §12205 and 42 U.S,C. §2000€(5);

(d) Find for Plaintiff that Defendants have intentionally discriminated against

Plaintiff due to his disability, that they failed to provide reasonable
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accommodations and engage in good faith, and that they retaliated against
Plaintiff by termination of his employment with the company;

Find for Plaintiff that Defendants have intentionally discriminated against
Plaintiff as a one hundred percent (100%) rated disabled United States
Veteran;

Enjoin Defendants its officers successors assigns and all persons from
engaging in unlawful employment practices against individuals with
disabilities

Provide sufficient remedial relief to make the Plaintiff whole for the
individual losses he has suffered as a result of the discrimination against
him, and any other appropriate non-discriminatory measure to overcome
the effects of the discrimination he has endured;

Award compensatory and punitive damages to Plaintiff to fully
compensate him for injuries caused by Defendants’ conduct and intent
pursuant to and within the statutory limitations of 42 U.S.C. §1981(b)(2) &
(3)(A) OR (3)(3);

Award Mr. Mallia all unpaid wages or overtime wages or misappropriated
tips under FLSA;

Award Plaintiff an equitable remedy for the retaliation Plaintiff faced at
the hands of Defendants;

Order Defendants to train its managers and staff regarding the
requirements of the ADA; and

Grant damages and further relief as may be deemed just and proper under
the circumstances

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JURY DEMAND
The Plaintiff hereby respectfully requests a trial by jury on all questions of fact
raised by his Complaint.

Executed this 30th day of January 2019 at th

@ity of Las Vegas, County of Clark,
State of Nevada. /'

     

  

v .,Ellsworth Esq.

Nev a Bar No. 4981

777 Rainbow Blvd., Ste 380
Las Vegas N`V 89107-1188
Telephone: (702) 767-9987
Facsimile: (702) 920-9871

Email: wynter@silverstatelaw.com
Counselfor Plaintiij

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To: Salvatore Mallia, Jr - From:. Las Vegas Loc_al Off_ice
clo ELL'SWORTH & BENN|ON CHTD. 333 Las Ve'gas B'l-vd Sou`th
Attn: Kee11 'Ellsw_orth, E_sq t ~Suite 5560 4
' 777 N. 'Rainbow B`lvd.',".Ste.' 27( _.;Las` Vegas,, NV 8.9_1.01 v ¢.~

1 Las Vegas, NV 89_1`0_7 `

On behalf ofperson(s) aggrieved Whose identity is
CONFIDENT/AL (29 CFR §1601 7(a`))

 

EEO_C Charge N_o. EEOC Represe`ntatl\ie Teleohone No.
'- _,:'_ " 4 _ Br_ia_n Go_r.ecki, 2
- 487-'20'18-0.,061§‘18‘v , __lnvestigator., (702;);_,3881§119_9

 

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Title Vll o`f the Civil Rights Act of 1964, the Amer`ic`ans with Di`sabili-t_ie's Act (ADA), o"r the Genetic information Nondiscrimination
Act (_G|N_A): Thls' is your Notlce of Righ_t to Sue, issued under Title V11 the ADA or GlNA based on the above-numbered char`ge` lt- has
been issued at your requests Your lawsuit under Title V|__,`l`l the ADA or GlNA must be filed iri a federal or state court WlTl-llN 90 DAYS
' of your receipt of this notice; or your right to sue based on this charge will be lost. (`-lhe time limit for filing suit based on a claim under
state law may be different ) . . . v

5 More than 180 days have passed since the filing of this charge

' Les`s than 180 days have passed since the filing of this charge but 1 have determined that it is unlikely that the EEQC will
-be able to complete its administrative processing within 180 _day-s from the filing of this charge ' , _ _

`l`he EtEOC is terminating its processing of this charge ’

llEll

j The EEOC will continue to process this charge -_

Age Discrimination in Ernployment Act (ADEA): You may sue under the ADEA at any time from 60 days after the charge was fled until
90 days after you receive notice that we have completed action on the charge ln this regard`, the paragraph marked below applies to
,your case:

The EEOC is closing your case Therefore, your lawsuit under the ADE5 must be"filed in federal'or. state court WlTHlN
90 DAYS of your receipt of this Notice_. .Otherwise, your right to sue‘_\based on the above-numbered charge will be lost.

n 1319

n The EEOC_ is continuing its handling of your ADEA case_. However 1160 days have passed since the filing of the charge
__ yeu_ mayi f le suit' i_n federal or state court under the ADEA at this timel _ ' _ , _ _ . _

Equal Pay _Act (EPA): You already have the right to sue under the EPA (f ling an __EEOC charge is not required.) EPA suits must be brought
in federal or_ state court within 2 years (3 years for willful violations) of the alleged EPA underpayment This means that backpay due for
any violations that occurred m"ore than 2 years (3 year's) before you file suit may not be collectible ' »

If vou tile suit. based on this charge please send a copy of your court complaint to this office

op 15611611'6_`1111` _c`bm"miss,ibri .".'~` NQV': g _"15 2019

  

 

En°'°?’“res($)_ l _ Wendy K.Martini 55 5 l 45 b llDaté Mail"ed)”"
` :`-Loica?lOffice Dire'ctor ' ' ' ' -
ccc `. » -DRYBAR i-ioi.DiNes, .i_i-_c
cio :Payne_ & »Fears.;LLC ~ '

` -_Attn: lVlatthew Durham
v 46385 S. Ralnbow Blvd., _ Sui_te 220 ; - _ _
Las Vegas NV 891'18 ‘ `

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" ' provisions of State./aw may be shorter or more limited than those described below.)";__ ; ._;__

_ . .» .- _-.`;`11~.Titlé-v11_ofthe~.C‘ivii-Rights A¢t,theAm¢ri¢anszwith-Di_$?bi.'_iti¢$-_A¢f-(ADA)_»
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_Discrim._ijn_ati_o_n"1_11.'_Efmpioym_e,n,tAct(ADEA) " '

in order to pursue this matter further, you must file a lawsuit against___the llr_e_si_ot_)"ncient_(__s) named in the',chargewithin`
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' consult a-n:attorn'ey, -you'.shou_ld do so _pr'omp.t|y_. Give your attorney a 'cq_p_y of this N_'otice`, and its e_nveldp'e,"and tell

.. him or,_,,h`er'_th'e date.you_ received it`.v .Further_more, ,in_ order to avoid .any_.q_w estionj_th_at you did _n_ot_act-_i_nj,a timely __
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indicated where_the_N‘otice,.is si`dned`)`_or_ the.da-te.of'_the postmark," if _later._`_ __ __ y
You'r`__l'afws'uit maybe filed in U.S__; District Court o,r;a'S'tate court of competent jurisdietioi'j.l .(Usually,‘_ the appropriate - '

.__St`ate cou'r s the general civil trial court`.) Whet`her‘y‘o`i"i_' file in 'Fed'eral or State court .i"`s -a` matter foryou_to"decide
aiter"taikin`g"to` yo'ur'atto"mey. F..iling this Notice is not enough‘. Ydu must file a "`co`mplaint“"that contains a short '
statement of the facts of your case which shows that you are entitled to.__re,lief_ _.Qo_urts_often require that acopy of ’ ' j
your-charge must _be- attached;to the complaint you file in court. if so,' you should remove your'birth d_ate._from- the ,
charge -Some- courts will not accept your complaint where the .charg'ei_nciu_de_"s'a:d'ate of_ »bi_rth.1 'Your'suit 'm_ay include .
_-an_y matter alleged in.the charge 'or,'to-'_the extent permitted»by court;.decision_s, matte'rs'li_ke‘ "or related to the-matters
alleged in the charge. ' General|y, suits are brought in the State where the allegedunlawful,pract_ice_occu_r`red,. but _in_
some cases can be brought where relevant employment records are_,ke'pt, where the employment would have"" 2
been, or where the__r__espondent has its main office. 1' if yjou have simp~le-'questio'ns, -yo"u`1usu_a-l11y-'-can£-get answers from '

1.`-the_§office "o_f§the;clerk of the’_cou_rt1_'wh‘erei vou~'are bringing-suit but.do` not-"-e).<pe.ct that officeto.;write ;'you'r_ complaint _ .
61 116161<6_1"1-6661; 6116166-:\1 161 66116'16;1'1 61 for ;vou;

 

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EPA »s_uil;smus_t be filed in G.Gurt_ within 2 years (3 years 101willful.viol_ation`s)'.of.the_all_eg"‘_e`cl,EP`A underpayment back
‘ pa_'y1due__:fo'_r violations that occurred more than 2 years 13 years[ before you file suit may notbe collectible For-
example, if you were underpaid under the 'EPA"f_or Work _`perfor'med fro_m-?/"l/OS`to 1211/08, you should »`»fi_ie suit
before '7/1/10 _~ not 12/1_/10 ~.-- in order to recover 'u'hp_aid'.wages due for ;`.'lu‘ly'._200_`8.._-~_:'~_._~'1"h1s.time.lirnit'for filing-an EPA l
suit is separate f_ro_m_ the 90-_day filing period under Title_VI_|, the_ADA, GlNA or the ADEA-refer_red to above _ , '
Theref_ore,. if- you'_a_lsd_p\lah'tofsue" Undér".'l'itle Viil,»th"e` ADA, GlNA or .the.AD_EA,_ih addition"to‘s_uih'g On the‘EPA

claim, suitl must be filed Within 90 days of this Notice en_d.vvith-i_ri the 2_-_01_.3¢yea'_r EPA-back pay recovery period.- y
ArroahEF`Y'-`.'_Ri='i'>nissen13110111'~;~<‘6=‘”"_1_“111156*11_11;`;111113111)13'er‘Gi'NA? _

lfyy_ou cannot'_afford or have been unabie'to'ob_tain a lawyer to represent.you~, the U.S. District Court having jurisdiction
~1n" your case `may, in limited circumstances assist`you inobtai'ning a lawyer Requesls for such assistance must be
made to the U.S. District Court in the form and manner it requires Cyou should be prepared to explain in detail your
efforts'to retain an attorney); Requests-should be made well before the end of the 90.~day period mentioned above,
because s-uch‘»reguests~ do 11th relieve~yo_u of the requirement:to.fbrihg suit within 90 days. ' ' 4 ' ' * 1
ATTORNEY REFERRAL_AN‘D EEOC ASSlSTANCE ~- '.Al=l. Statutes:_ \. ' ‘

_;You_ may._coutact- the EEOC representative._shown on y__o.u_r Notice if yquineed,-help in..finding__ a_layryer~.or.__ i_f_y_ou_~ha__ve any _ 1.
questions`_ab.out__your-vle_ga_l rights -inc,|uding__advic_e o_n which U.S. District_Cour_t-"_Ga_n `hea'r_',"yo`u`_"' asst : 11ijou_ln"e`ed _"`to_ '_ ' _`
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* "are' :kept`~*for-'at_least_-\G months after our lastfa`ction- on the case Therefore, if you file suit and Want'to review the-charge
tile, pleasema_i_<_e your review request with'in»€ months of this Notice._ (Before filing suit, any request should be - '
made within the next 90 days.) »' " . » . . ' ` `

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Ndrici; bishfelii s VSiQIi)?aRRFEECiih'A §§iil§liliiliNfse£@i/h%z%o§?§h§hzil .39.111@ ADA was

amended, effective January l, 2009, to broaden the definitions of disability to make it easier for individuals to
be covered under the ADA/ADAAA A disability is still defined as (1) a physical cr mental impairment that ’
substantially limits one or more major life activities (actual disability); (2) a record of a substantially limiting
impairment;` or (3) being regarded as having a disability. However, these terms are redefined and it is easier 10
be covered under the new law 1 1

Ii` you plan to retain an attorney to assist you With your ADA claim, we recommend that you share this _
information with your attorney and suggest that he or she consult the amended regu ulations and

appendix, and other 4 _ ADA related l nublicati¢`)n`sq ` avail_able _. at
littn://www. eeocgov/laws/tvl)es/di__sabiiitv regulations.lcfm. ' ‘ `

 

“Aetual” disability or a “record of” a disability (note: if you are pursuing a failure to accommodate claim
you must meet the standards for either “actual” or “record of” a disability):

> 'l`he limitations from the impairment no longer have to be severe or significant for the impairment toy

' , be considered substantially limiting
>'» In addition to activities such as performing manual tasks, walking, seeing, hearing, speaking breathing
llearning, thinking, concentrating, reading, bending, and communicating (_more examples at 29 C F. R §

.111630. 2(1)),. “niajor life activities” now include the operation of major bodily funet-ions,- such as:
functions of the immune system, special sense organs and skin; normal cell grovvth;_ and digestive,
f genitourinary, bowel, bladder, neurological, brain, respiratory, circulato_r_y, cardiovascular, endocrine,

' hemie, lymphatic, musculoskeletal, and reproductive hinctions; or the operation of an individual organ
Within a body system. - -
..Only one major life activity need be substantially limited ~ '

With the exception of ordinary eyeglasses o_r contact lenses,- the beneficial effects of “mitigating
measures” (e. g. ., hearing aid, prosthesis, medication, therapy, behavioral modifications) are not

. considered 111 determining if the impairment substantially limits a major life activity._

> An impairment that is “epi_sodi_c’_’_ (e g., epilepsy, depression, multiple sclerosis) or` “in remission’ (e.g., f
_' 'can_cer) is a disability if it would be substantially limiting when active

. > An impairment may be substantially limiting even though it lasts or is expected to last fewer than six

months -

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“Regarded as” coverage:

> An individual can meet the definition of disability if an employment action was taken because of an
actual or- perceived impairment (e. g. ., refusal to hire, demotion, placement on involuntary leave,
termination exclusion for failure to meet a qualification standard harassment or denial o`-f. any other term,

. condition, or privilege of employment). '

}.> ‘_‘Rega_rded as” coverage under the ADAAA_ no longer requires that an impairment be substantially

f limiting, or that the employer perceives the impairment to be substantially limiting

> The employer has a defense against a “_regarded as” claim only when the impairment at issue is objectively

_ _ BOTH transitory (lasting or expected to last six months or less)_ AND minor. .
`> A person is not able to bring a failure to accommodate claim if the individual' is covered only under the
“regarded as” definition of “disability ” f

' Note: Although the amended ADA states that the definition of disability “shall be construed broadly” and
“should not demand extensive anab)si’s,” some courts require specificity in the complaint explaining how an
impairment substantially limits a major life activity or what facts indicate the challenged employment action
was because of the impairment Beyond the initial pleading stage, some courts will require specific evidence
t_o establish disability. F or more information, consult the amended regulations and appendix, as Well as
explanatory publications, available at http: //www. eeoc. gov/laws/tvpes/disabilitv regulations cfm.

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